Case 3:14-cr-00144-TAD-KLH           Document 95       Filed 03/24/15      Page 1 of 1 PageID #:
                                            258



                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                     MONROE DIVISION

 UNITED STATES OF AMERICA                         *    CRIMINAL NO. 14-0144-02


 VERSUS                                           *    JUDGE ROBERT G. JAMES


 OTIS FRANKENLL JR.                               *    MAG. JUDGE KAREN L. HAYES

                                      JUDGMENT

       The Report and Recommendation of the Magistrate Judge having been considered, and

the parties having waived their objections thereto,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the District Court

accepts the guilty plea of Defendant Otis Frankenll, Jr., and adjudges him guilty of the offense

charged in Count 4 of the indictment against him.

       IT IS FURTHER ORDERED that the pending Motion in Limine [Doc. No. 76] is

DENIED as MOOT.

       MONROE, LOUISIANA, this 24th day of March, 2015.
